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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION

 DAVID W. PARROTT,                                   Case No. 3:23-CV-593-RGJ

                                        Plaintiff,

 v.

 GEMINI DIRECT, LLC d/b/a CREDIT
 INNOVATION GROUP,

                                    Defendant.

                                              ORDER


       This Court having considered the Defendant, Gemini Direct, LLC d/b/a Credit Innovation

Group’s (“Gemini”) Motion to Transfer Venue and the response thereto, and the Court being

otherwise sufficiently advised,

       IT IS HEREBY ORDERED THAT the above captioned dispute be transferred to the

United States District Court of Utah.




                                                       _________________________________
                                                       JUDGE REBECCA G. JENNINGS

                                                       __________________________________
                                                       Date
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